                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )
                                                   )       No. 3:07-CR-116
 V.                                                )       (PHILLIPS/SHIRLEY)
                                                   )
 JACOB RONALD REED                                 )

                       ORDER OF SUBSTITUTION OF COUNSEL

               The defendant personally appeared before the undersigned on October 17,
 2007, for a hearing on defendant’s Notice of Appearance and Motion to Continue [Doc. 16]
 filed by David Wigler and Mr. Stewart’s Motion to Continue [Doc. 15]. Hugh Ward,
 Assistant United States Attorney, was present representing the government, and Keith
 Stewart was present representing the defendant.
               Mr. Wigler stated to the Court that the defendant had hired he and Herbert
 Moncier as co-counsel to represent the defendant. The government, through Assistant United
 States Attorney Hugh Ward indicated the government did not object to the substitution of
 counsel. Mr. Stewart stated to the Court that he had no objection to having David Wigler and
 Herbert Moncier substituted as retained counsel. Mr. Wigler stated that he wished to have
 the trial date of November 14, 2007, to remain the same. A Pretrial Conference and Status
 Hearing are rescheduled to November 1, 2007, at 10:00 a.m., before the undersigned.
               The Court finds the Notice of Appearance is appropriate and DENIES AS

 MOOT the Motions to Continue [Doc. 15 and 16]. Mr. Stewart is relieved of his




Case 3:07-cr-00116-TWP-CCS         Document 18         Filed 10/17/07   Page 1 of 2   PageID
                                         #: 12
 appointment as CJA counsel and David Wigler and Herbert Moncier are substituted as
 retained counsel.
                                ENTERED:

                                  s/ C. Clifford Shirley, Jr.
                                United States Magistrate Judge




                                         -2-


Case 3:07-cr-00116-TWP-CCS     Document 18      Filed 10/17/07   Page 2 of 2   PageID
                                     #: 13
